
395 So.2d 1279 (1981)
In the Interest of R.W.G., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 80-654.
District Court of Appeal of Florida, Second District.
April 1, 1981.
*1280 Jerry Hill, Public Defender, Bartow, and Samuel Robert Mandelbaum, Asst. Public Defender, Tampa, for appellant.
Jim Smith, Atty. Gen., Tallahassee, and Charles Corces, Jr., Asst. Atty. Gen., Tampa, for appellee.
OTT, Judge.
Appellant was charged with burglary. The juvenile division of the circuit court found the charge to be true and, accordingly, adjudged him to be a delinquent.
We reverse. The only evidence established merely that appellant was acquainted with two minors who committed the burglary, that he was outside the premises being burglarized, and that he knew what the actual perpetrators were doing. There was no evidence that he entered the premises at any time, or that he did anything whatsoever which aided or assisted in the commission of the crime. There was no evidence which could even give rise to an inference of any such activity on appellant's part.
The evidence was totally insufficient to establish appellant's guilt. Such as it was, it was not inconsistent with the reasonable hypothesis that, as he claimed, appellant had refused to participate in the crime in any way. Such evidence does not support a conviction. Pack v. State, 381 So.2d 1199 (Fla.2d DCA 1980).
The order is reversed.
SCHEB, C.J., and GRIMES, J., concur.
